
707 S.E.2d 233 (2011)
STATE of North Carolina
v.
Sandy Delandore GRAVES.
No. 66P11.
Supreme Court of North Carolina.
April 7, 2011.
Kathryn E. Hathcock, Assistant Attorney General, for State of North Carolina.
Sandy Delandore Graves, for Graves, Sandy Delandore.
Philip E. Berger, Jr., District Attorney, for State.

ORDER
Upon consideration of the petition filed by Defendant on the 14th of February 2011 in this matter for a writ of certiorari to review the decision of the North Carolina Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 7th of April 2011."
